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                                                              UNITED STATES
                                                            BANKRUPTCY COURT
                                                          DISTRICT OF NEW JERSEY
 IN RE:
                                                                     Chapter 11
 6 SUNSET LANE, LLC,
                                                             Case No. 25-11005-MEH
               Debtor-in-Possession.
                                                        Judge: Hon. Mark E. Hall, U.S.B.J.

                                                    CERTIFICATION OF FRANK RUBBA
                                                     IN SUPPORT OF MOTION FOR AN
                                                        ORDER EXPUNGING CLAIM
                                                         PURSUANT 11 U.S.C. §502

                                                     Hearing Date: June 16, 2025 at 10:00a.m.


       I, Frank Rubba, being of full age, hereby certifies as follows:

   1. I am the sole member of the Debtor-in-Possession, 6 Sunset Lane, LLC (the “Debtor”) and

       I am fully familiar with the facts of this case. I make this certification in support of the

       Debtor’s Motion for an Order Expunging Claim 3 Pursuant to 11 U.S.C. § 502.

   2. On January 31, 2025, the Debtor filed a voluntary petition under Chapter 11 of the United

       States Code (the “Bankruptcy Code”). See ECF No. 1.

   3. In Schedule D of the Debtor’s Chapter 11 Petition, Debtor named Glenn Del Russo (“Del

       Russo”) as a secured creditor by virtue of the Mortgage dated May 14, 2024. Id. Likewise,
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     in the Debtor’s Creditor Matrix included as part of the Petition, Debtor listed Del Russo’s

     address as 89 Teakwood Circle, Jupiter, Florida 33469.

  4. Pursuant to the Notice of Chapter 11 Bankruptcy served by the Clerk of the United States

     Bankruptcy Court, the bar date for governmental entities is July 30, 2025, and all other

     creditors were to file Proofs of Claim on or before April 11, 2025 (the “Bar Date”). See

     ECF No. 3.

  5. On February 28, 2025, Debtor, through counsel, filed a Notice of Telephonic § 341

     Meeting, notifying Debtor’s creditors of the Debtor’s First Meeting of Creditors to be held

     telephonically on March 6, 2025, at 1:00p.m. See ECF No.10.

  6. Debtor’s § 341 meeting was held on March 6, 2025, and Del Russo did not appear at same.

  7. On May 5, 2025, nearly one (1) month after the expiration of the Bar Date, Del Russo filed

     a proof of claim in the amount of $211,390.00 (the “Del Russo Proof of Claim”). See Proof

     of Claim No. 3.

  8. The Del Russo Proof of Claim indicates that Del Russo’s current address is the same as

     that found in Debtor’s Creditor Matrix as part of the Petition. Id.

  9. Pursuant to Fed. R. Bankr. P. 3002, “every creditor must file a proof of claim- and any

     equity security holder must file a proof of interest-for the claim or interest to be allowed.”

  10. Here, Del Russo was adequately noticed of the Bar Date by virtue of having been named

     as a secured creditor in Debtor’s Petition and pursuant to the Notice of Chapter 11

     Bankruptcy served by the Clerk of the United States Bankruptcy Court.

  11. Del Russo failed to file its proof of claim on or before the Bar Date despite being on notice

     of same.
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                12. Accordingly, it is respectfully requested that Del Russo’s untimely proof of claim be

                     expunged.

                I hereby certify that the foregoing statement made by me are true. If any of the foregoing

            statement made by me are willfully false, I am subject to punishment.




                                                             6 Sunset Lane, LLC

                                                      BY:    /s/
                     Date:   May 8, 2025                     Frank Rubba, Member
